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                Index No. 14-CV-4708 (ENV) (ST)


                UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF NEW YORK


                ROY TAYLOR,

                                                           Plaintiff,
                                     -against-

                OBCC-GRIEVANCE COORDINATOR KENNEDY,
                OBCC C.O. SMITH, OBCC CAPT ELAM, OBCC
                WARDEN WETTINGTON, SOCIAL SERVICE
                COUNSELORS BERRY and HAKIM, OBCC
                CLOTHES BOX C.O. ELLIS, OBCC C.O. CRUZ,
                EMTC C.O. DUNSON, SOCIAL SERVICE
                COUNSELORS MR. MOORE and DENTRY,
                COORDINATOR MULVANNY, and EMTC
                CLOTHES BOX C.O. SCIPION,

                                                       Defendants.


                 RELY MEMORANDUM OF LAW IN FURTHER
                  SUPPORT OF DEFENDANTS’ MOTION FOR
                         SUMMARY JUDGMENT


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                               PRELIMINARY STATEMENT

              Under the Prison Litigation Reform Act (“PLRA”), an inmate must exhaust all

available administrative remedies before bringing a 42 U.S.C. § 1983 action regarding prison

conditions. On August 6, 2014, Plaintiff Roy Taylor commenced this § 1983 action alleging that

he was subject to unconstitutional conditions of confinement by various employees of the New

York City Department of Correction (“DOC”) between August 10, 2013 and March 28, 2014,

during his detention on Rikers Island. Following limited discovery on the issue of administrative

exhaustion, by Notice of Motion dated October 13, 2017, Defendants DOC Captain Elam,

Correction Officers Dunson and Ellis, DOC counselors Berry and Hakim (collectively,

“Defendants”), moved for summary judgment on the grounds that Plaintiff had failed to exhaust

his administrative remedies before filing suit. See Docket Nos. 80-84. Defendants argued that

Plaintiff was knowledgeable about the administrative remedies available to him on Rikers Island

through the Inmate Grievance and Request Program (“IGRP”) but nonetheless failed to exhaust

those remedies based on his perception that exhaustion would be futile. See Docket No. 84 at 12.

              In a 10-paragraph opposition filed on January 16, 2018, Plaintiff conclusorily

argues that the IGRP was in fact unavailable to him because some grievance forms were not

completely filled out by DOC staff and because DOC staff did not respond to his grievances. He

also argues that he was not required to exhaust grievances that he contacted an outside agency

about or grievances in which he requested staff discipline. Plaintiff does not challenge any

material fact in Defendants’ summary judgment papers and his legal arguments based on the

undisputed facts are meritless. This Court should accordingly grant Defendants’ motion for

summary judgment and dismiss Plaintiff’s Complaint in its entirety.
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                                         ARGUMENT

                                            POINT I

                      PLAINTIFF’S  ACTION   SHOULD  BE
                      DISMISSED FOR FAILURE TO EXHAUST
                      HIS ADMINISTRATIVE REMEDIES

               In order to properly exhaust DOC’s administrative grievance procedure the IGRP,

an inmate must (i) file a grievance; (ii) request a hearing before the Inmate Grievance Resolution

Committee (“IGRC”); (iii) appeal IGRC’s decision to the facility’s commanding officer; and

finally, (iv) appeal the commanding officer’s decision to the Central Office Review Committee

(“CORC”). See Docket No. 84 at 1-3. See also Leneau v. City of N.Y., 16-CV-0893, 2018 U.S.

Dist. LEXIS 13115, at *7 (S.D.N.Y. Jan. 26, 2018) (describing IGRP process).

               Here, the undisputed facts show that Plaintiff was aware of the IGRP process but

nonetheless either (i) failed to file grievances regarding certain claims in his Complaint or

otherwise, (ii) failed to exhaust his administrative remedies regarding other claims beyond filing

an initial grievance. See Docket No. 84 at 3-7. In his opposition, Plaintiff does not dispute that

he failed to progress through the various steps of the IGRP but nonetheless advances two

arguments1 for denial of Defendants’ summary judgment motion, none of which are availing.




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    Plaintiff also speculates that certain of Defendants’ exhibits are “doctored.” See Docket No.
    86 at ¶ 2. He does not, however, provide any evidence in support of this claim; this assertion
    is accordingly insufficient to defeat Defendants’ motion for summary judgment. See
    Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986) (holding that a nonmovant cannot
    merely rely on conclusory allegations to defeat a summary judgment motion).




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               First, Plaintiff conclusorily argues that the IGRP was “unavailable” to him

because some grievance forms were not completed by DOC staff and because DOC staff “failed

to respond” to his grievances. See Docket No. 86, ¶¶ 1, 2, 8, 10. An inmate’s failure to exhaust

may be excused if administrative remedies were “unavailable” to him. Ross v. Blake, 136 S. Ct.

1850, 1858 (2016). In Ross v. Blake, the Supreme Court ruled that there are three kinds of

circumstances in which an administrative remedy is not capable of use to obtain relief. 136 S. Ct.

at 1859. First, “an administrative procedure is unavailable when (despite what regulations or

guidance materials may promise) it operates as a simple dead end” and “the facts on the ground

demonstrate that no […] potential [for relief] exists.” Id. Next, an administrative scheme may be

deemed unavailable if it “so opaque” such that “no ordinary prisoner can discern or navigate” the

process. Id. Finally, administrative remedies may be deemed unavailable if “prison

administrators thwart inmates from taking advantage of a grievance process through

machination, misrepresentation, or intimidation.” Id.

               Plaintiff does not establish the existence of any of these circumstances. Plaintiff

does not claim IGRP staff’s failure to fill out certain portions of his grievance forms precluded

him from appealing those grievances. He also does not claim that the failure of DOC staff to

respond to his grievances prevented him from exhausting his remedies, nor could he, as the

IGRP expressly provides for an appeal process in the absence of any response from DOC staff. It

is “well-established that, even if an inmate does not receive a response to his grievance, he fails

to exhaust administrative remedies if he does not avail himself of the available appeals process.”

Leneau, 2018 U.S. Dist. LEXIS 13115, at *9 (S.D.N.Y. Jan. 26, 2018). See Docket No. 84 at 10

(citing additional cases).




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               While Plaintiff claims he believed the IGRP was futile and therefore

“unavailable,” there is no evidence in the record that IGRP was in fact a “dead end”: IGRP staff

investigated and provided informal resolutions in response to four of Plaintiff’s grievances, and

Plaintiff accepted one of those resolutions in writing. See Docket No. 84 at 4-6. PLRA’s

exhaustion requirement cannot be excused based upon plaintiff’s perception that pursuing

administrative remedies would be “ineffective or futile.” Johnson v. Stevens, 12-CV-5186, 2014

U.S. Dist. LEXIS 133164, at *10 (E.D.N.Y. Sep. 22, 2014). See Docket No. 84 at 11 (citing

additional cases).

               In sum, Petitioner has failed to demonstrate that administrative remedies were

unavailable to him. There is no evidence in the record that IGRP operated as a dead end or that

DOC staff was unable or unwilling to provide any relief to aggrieved inmates, and Plaintiff does

not allege that IGRP was opaque or that DOC staff attempted to thwart his efforts to pursue his

remedies through “machination, misrepresentation, or intimidation.” His failure to exhaust the

available remedies is accordingly not excusable, and his Complaint should accordingly be

dismissed for failure to comply with the PLRA.

               Second, Plaintiff argues that under the IGRP, he was not required to exhaust

grievances regarding which he also contacted an outside agency, or in which he requested that

DOC discipline the staff members responsible for the conditions he was grieving. See Docket

No. 86 at ¶ 2. The IGRP’s grievance form itself, however, expressly instructs inmates to use the

IGRP “before […] seek[ing] relief from an external entity, like the courts or another agency.”

See Docket No. 82, Exhibit A at Appendix A, Attachment B (TAYLOR 067). The IGRP also

plainly states that even where a grievance seeks “the censure, discipline or termination of a

[DOC] employee,” the grievance “including any substantive issue that prompted such a request,




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will […] be processed in the ordinary course as described in [the IGRP directive].” See Docket

No. 82, Exhibit A at § IV(B)(2)(c). Where “nothing in an inmate’s opposition papers “reveals a

‘reasonable misunderstanding of the grievance procedures’ that would justify [a] failure [to

exhaust],” the inmate’s complaint must be dismissed. Johnson, 2014 U.S. Dist. LEXIS 133164,

at *7. As there is no indication that Plaintiff’s beliefs that certain of his grievances fell outside

the IGRP are “attributable to any reasonable reliance on DOC regulations,” Johnson, 2014 U.S.

Dist. LEXIS 133164, at *7, his Complaint should be dismissed for failure to exhaust.

               In sum, the undisputed facts show that (i) Plaintiff was aware of the IGRP; (ii) the

IGRP was available to Plaintiff; and (iii) Plaintiff failed to exhaust the IGRP before filing this

federal action. Plaintiff’s Complaint should accordingly be dismissed in its entirety.2




2
    Plaintiff inexplicably seeks leave to serve interrogatories on Kimberley Johnson, who
    submitted a Declaration in Support of Defendants’ Motion for Summary Judgment (Docket
    No. 82), summarizing and attaching various documents that had either been produced by
    Plaintiff or Defendants in this action. See Docket No. 86 at ¶¶ 3, 11. None of Plaintiff’s
    interrogatories sought Ms. Johnson’s identity, and Plaintiff does not in any event explain
    what portion of Ms. Johnson’s declaration, if any, he disputes. This Court should accordingly
    deny Plaintiff’s request to resume discovery at this stage in the action.




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                                         CONCLUSION

               A motion for summary judgment must be construed with “due regard” not only

for the rights of plaintiffs to have their claims tried before a jury, but also for the rights of

defendants to demonstrate—prior to trial—that a plaintiff’s claims have no factual basis. Celotex

Corp. v. Catrett, 477 U.S. 317, 322, 323-24, 327 (1986). For the foregoing reasons and those set

forth in Defendants’ moving papers, Defendants respectfully request that the Court grant their

motion for summary judgment, dismiss Plaintiff’s Complaint in its entirety, and grant them such

other and further relief as the Court deems just and proper.

Dated:         New York, NY
               February 6, 2018


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